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  grounds upon which a Rule 59(e) motion may be granted: 1) the motion is necessary
  to correct manifest errors of law or fact upon which the judgment is based; 2) the
  moving party presents newly discovered or previously unavailable evidence; 3) the
  motion is necessary to prevent manifest injustice; or 4) there is an intervening
  change in controlling law.” Turner v. Burlington N. Santa Fe R.R. Co., 338 F.3d
  1058, 1063 (9th Cir. 2003) (internal quotation marks and emphasis omitted). Hayes
  advances no valid basis upon which a Rule 59(e) motion may be granted. Although
  Mr. Hayes contends the Court erred by “not considering alternative allocation
  plans,” (Mot. 2), he offers no authority that this amounted to legal error. When
  evaluating a proposed allocation plan, a court need only determine that the plan is
  fair, reasonable, and adequate. See Class Plaintiffs v. City of Seattle, 955 F.2d 1268,
  1284–85 (9th Cir. 1992). The Court did so in its order approving the settlement and
  overruling Mr. Hayes’s objection to the proposed allocation plan. (Order 3–5, ECF
  No. 160.)

         To the extent Mr. Hayes uses his motion to respond to arguments presented in
  Plaintiffs’ settlement approval reply brief, the motion effectively amounts to an
  unauthorized and untimely surreply. See C.D. Cal. R. 7-10.

         The motion is denied.

  IT IS SO ORDERED.




  grounds: it is untimely, see CD. Cal. R. 7-18 (requiring motion for reconsideration
  to be filed within 14 days of the order to be reconsidered), and Mr. Hayes offers no
  valid ground for reconsideration, see id. (authorizing reconsideration for three
  discrete reasons).

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